Case 1:18-cr-00083-TSE Document 50 Filed 05/03/18 Page 1 of 2 PageID# 915


                                                                                          \L.UL.i \f CLJ



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                                                                       II HAY -3 P 12: 31
                                      Alexandria Division
                                                                                   CLEai'USDiSTaiCT COURT
                                                                                    ALEXARORIA, VIRGINIA
UNITED STATES OF AMERICA

       V.                                          CaseNo. l:18Cr.83(TSE)

Paul J. Manafort, Jr.,

       Defendant.


                                 PRAECIPE FOR SUBPOENA


       It is respectfully requested that the Clerk of said Court issue subpoenas as indicated

below for appearance before said Court at Alexandria, Virginia, in United States District Court at

10:00 o'clock a.m., on the 10th day of July, 2018,then and there to testify on behalf ofthe

United States:


                  70 Blank Subpoenas(35 Sets)

       This _Sday of May,2018.
                                                     Respectfully submitted.

                                                     Robert S. Mueller III
                                                     Special Counsel


                                             By:

                                                     Special Assfistant United States Attorney
          Case 1:18-cr-00083-TSE Document 50 Filed 05/03/18 Page 2 of 2 PageID# 916

AO 89 (Rev.08/09)Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                       United States District Court
                                                                         for the

                                                         Eastern District of Virginia
                  United States of America
                                 V.

                                                                                   Case No.1:18Cr. 83(TSE)
                     Paul J. Manafort, Jr.
                             Defendant


                     SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE


To:




        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: bl S. District Court                                          Courtroom No.: jujjgg Ellis, 9th Floor
                            401 Courthouse Square
                            Alexandria, VA 22314                                   Date and Time: jy|y .|q 20I8,10:00 a.m.
          You must also bring with you the following documents, electronically stored information, or objects(blank ifnot
applicable)'.




         (SEAL)


Date:      5/3/2018
                                                                                   CLERK OF COURT



                                                                                              Signature ofClerk or Deputy Clerk




The name, address, e-mail, and telephone number ofthe attorney representing(name ofparty)                              United States

                                       ,who requests this subpoena, are:
         Greg D. Andres, Special Assistant United States Attorney
         Department of Justice- Special Counsel's Office
         950 Pennsylvania Avenue NW
         Washington, DC 20530
         (202)514-0522
